TO:    All Court of Appeals Judges, Professor Bacigal, Professor Spratt and Alice Armstrong

FROM: Marty Ring

DATE: April 6, 2021


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Shaka Markel Long
             v. Commonwealth of Virginia
             Record No. 1971-19-1
             Opinion rendered by Judge Beales on
              January 26, 2021

          2. Clyde Carlton Koons, IV, f/k/a, etc.
             v. Leslie Elizabeth Crane
             Record No. 0580-20-4
             Opinion rendered by Judge O’Brien on
              February 2, 2021
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Sidi O. Jiddou
   v. Commonwealth of Virginia
   Record No. 1910-18-2
   Opinion rendered by Senior Judge Clements
     on December 27, 2019
   Refused (200272)

2. Roy Leeshun Williams
   v. Commonwealth of Virginia
   Record No. 0603-18-2
   Opinion rendered by Chief Judge Decker
    on January 14, 2020
   Refused (200244)

3. Michael Dwayne Ferguson
   v. Commonwealth of Virginia
   Record No. 0060-19-3
   Opinion rendered by Judge Beales
    on February 25, 2020
   Refused (200624)

4. Melanie Vandyke
   v. Commonwealth of Virginia
   Record No. 1322-18-2
   Opinion rendered by Chief Judge Decker
    on March 31, 2020
   Refused (200574)

5. Kevin Diaz Gomez, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0369-19-4
   Opinion rendered by Judge Petty
    on June 9, 2020
   Refused (200883)
